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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                   FLORENCE DIVISION

 CHALPIN REALTY SC, LLC,                     )             Civil Action No: 4:22-cv-02651-JD
                                             )
                                             )
                 Plaintiff,                  )
                                             )           ORDER GRANTING LEAVE TO
                vs.                          )         DEPOSIT FUNDS INTO THE COURT
                                             )
 JERSAM REALTY, INC.,                        )
                                             )
               Defendant.                    )


       This matter is before the Court on Jersam Realty, Inc.’s (“Jersam”) Consent Motion for Leave

to Deposit Disputed Escrow Funds with the Court pursuant to Fed. R. Civ. P. 67(a) and Local Rule

67.01, D.S.C. (“Consent Motion”) (DE 52).

                                                 BACKGROUND

       The above captioned action (“Action”) stems from a breach of contract of sale dispute over

which party is entitled to the $1,000,000 down payment (the “Down Payment”) because of a real

estate transaction that did not close. Pursuant to the parties’ written contract of sale (“Contract”) the

Down Payment is held by Haynsworth Sinkler Boyd, P.A. (“Escrowee”) in their non-interest-bearing

IOLTA escrow account. Jersam with the consent of Plaintiff and Escrowee request an Order

permitting Escrowee to release the sit the Down Payment, from Escrowee’s non-interest bearing

IOLTA account and deposit same with the Clerk of Court in an interest bearing account until the

Action is fully and finally resolved in accordance with the terms of the Contract. At this time, both

parties have pending motions to alter and/or amend the Court’s Order and Judgment both dated

September 26, 2023, pertaining to, among other matters, the entitlement of the Down Payment and

the interest thereon (DE 31, DE 36 and DE 40).

                                                 DISCUSSION

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        Rule 67(a) of the Federal Rules of Civil Procedure states, “[i]f any part of the relief sought is

a money judgment or the disposition of a sum of money or some other deliverable thing, a party – on

notice to every other party and by leave of court – may deposit with the court all or part of the money

or thing, whether or not that party claims any of it.” Foreman Elec. Servs., Inc. v. Haliron Power,

LLC, No. 6:20-CV-03733-JD, 2022 WL 18587803, at *1 (D.S.C. Mar. 31, 2022) (citing Fed. R. Civ.

P. 67(a)). “The purpose of the deposit is to relieve the depositor of responsibility for a fund in dispute.”

§ 2991 Payment into Court, 12 Fed. Prac. & Proc. Civ. § 2991 (3d ed.). “The decision to grant leave

to deposit monies pursuant to Rule 67 is vested in the Court’s sound discretion, and is subject to

reversal only upon a showing of an abuse of that discretion.” Se. Cinema Ent., Inc. v. P.B. Realty,

Inc., No. 9:06CV-02639, 2007 WL 9752858, at *2 (D.S.C. May 31, 2007).

        After review of the Consent Motion and applicable law, the Court finds that Rule 67 is

applicable and properly invoked. The Plaintiff, Defendant and Escrowee have consented to the Court

issuing an order (1) directing that the Down Payment funds be deposited with the Court in an interest-

bearing account and that the Down payment will be distributed upon the issuance of a final non-

appealable order directing the release of the Down payment from the Court Registry Investment

System; and (2) providing that the parties are discharged from liability for any interest accruing on

the Down Payment funds and any pre- or post-judgment interest subsequent to the Down payment

being properly deposited with the Court pursuant to this Order in an interest bearing account.

        IT IS THEREFORE ORDERED, that the Consent Motion for permission to allow Escrowee

to deposit the Down Payment with the Court is GRANTED.

        IT IS FURTHER ORDERED that the $1,000,000 Down Payment be deposited by Escrowee

with the Court in an interest-bearing account no later than 14 business days of the date of this Order.




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       IT IS FURTHER ORDERED that the Clerk of the Court is directed to accept the $1,000,000

Down Payment from Escrowee and deposit it into the Court Registry Investment System in an

interest-bearing account;

       IT IS FURTHER ORDERED that the Down Payment and any interest which may accrue

thereon with the Court, shall not be released until issuance of a non-– appealable final order deciding

entitlement to the Down Payment;

       IT IS FURTHER ORDERED that the parties are discharged from liability for any interest

accruing on the $1,000,000 Down Payment and any pre- or post-judgment interest subsequent to the

Down payment being properly deposited in an interest-bearing account with the Court in accordance

with this Order;

       IT IS FURTHER ORDERED that the party deemed entitled to the Down payment pursuant

to the parties Contract upon the issuance of a non-appealable final e order determining same, will

motion this Court requesting that the Court Registry Investment System release the Down Payment

with interest to the entitled party and the Court upon such proper motion will issue an order directing

Court Registry Investment System or such entity at that time having possession and/or control of the

Down payment to release of the Down payment with interest to the entitled party;

       IT IS FURTHER ORDERED that the parties split evenly any and all costs associated with

Court Registry Investment System’s maintenance of the Down Payment monies with accruing

interest; and

       IT IS FURTHER ORDERED that the Court will retain jurisdiction to direct the release of

$1,000,000 Down Payment deposit, plus any interest accrued, as appropriate and consistent with the

non-appealable final order to the party so entitled.

       IT IS SO ORDERED.

February 6, 2024
Florence, South Carolina
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